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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                PLV Electric LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1 Sheila Drive
                                  Tinton Falls, NJ 07724
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Monmouth                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    PLV Electric LLC                                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    PLV Electric LLC                                                                                Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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         Name

                            $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                            $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                            $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    PLV Electric LLC                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 2, 2024
                                                  MM / DD / YYYY


                             X /s/ Paul Vehling                                                           Paul Vehling
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Owner




18. Signature of attorney    X /s/ Anthony Sodono, III                                                     Date April 2, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Anthony Sodono, III
                                 Printed name

                                 McManimon, Scotland & Baumann, LLC
                                 Firm name

                                 75 Livingston Avenue
                                 Second Floor
                                 Roseland, NJ 07068
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     973-622-1800                  Email address      asodono@msbnj.com

                                  NJ
                                 Bar number and State




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                        Ally
                        PO Box 8140
                        Cockeysville, MD 21030


                        Associated Bank
                        PO Box 1368
                        Buffalo, NY 14231


                        Clipper Magazine LLC
                        c/o Charles M. Balistreri, Esq.
                        Anes Friedman Leventhal & Balistreri
                        52 Duane Street, 7th Fl.
                        New York, NY 10007


                        Ferguson Supply
                        207 Cooper Road
                        Red Bank, NJ 07701


                        Gunther
                        13530 Artisan Cir.
                        Palm Beach Gardens, FL 33418


                        Internal Revenue Service
                        PO Box 7346
                        Philadelphia, PA 19101-7346


                        Michael Nord, Esq.
                        NordLaw
                        190 State Highway 18, Ste. 201
                        East Brunswick, NJ 08816


                        Monarch
                        1250 Cranbury Road, S
                        Cranbury, NJ 08512


                        New Jersey Attorney General's Office
                        Div. of Law; RJ Hughes Justice Complex
                        25 Market Street
                        PO Box 112
                        Trenton, NJ 08625-0112


                        New Jersey, Dept. of Labor/Workforce Dev
                        Div. of Unemployment/Disability Insur.
                        Bankruptcy Unit
                        1 John Fitch Plaza, PO Box 951
                        Trenton, NJ 08611-0951
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                    New Jersey, Division of Taxation
                    Compliance/Enforcement - Bankruptcy Unit
                    3 John Fitch Way, 5th Fl.
                    PO Box 245
                    Trenton, NJ 08695-0245


                    New Jersey, Division of Taxation
                    Division of Employer Accounts
                    PO Box 379
                    Trenton, NJ 08625-0379


                    Nissan Motors
                    PO Box 74089
                    Cincinnati, OH 45274


                    Oakmont Capital
                    PO Box 843840
                    Dallas, TX 75284


                    Smolin Lupin
                    165 Passaic Ave., Ste. 411
                    Fairfield, NJ 07004


                    TD Bank
                    PO Box 5600
                    Lewiston, ME 04243


                    United States Attorney
                    Peter Rodino Federal Building
                    970 Broad Street, Ste. 700
                    Newark, NJ 07102


                    United States Attorney General
                    United States Department of Justice
                    Ben Franklin Station
                    PO Box 683
                    Washington, DC 20044


                    Vehling, Paul
                    15 Meadow Point Drive
                    Brick, NJ 08723


                    Wells Fargo Commercial Distribution Fin.
                    Attn: Tim Jacobs Credit Risk Spec.
                    5595 Trillium Blvd., 3rd Fl. Recovery
                    Hoffman Estates, IL 60192
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                                        United States Bankruptcy Court
                                                 District of New Jersey
 In re   PLV Electric LLC                                                           Case No.
                                                            Debtor(s)               Chapter    11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for PLV Electric LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




April 2, 2024                                  /s/ Anthony Sodono, III
Date                                           Anthony Sodono, III
                                               Signature of Attorney or Litigant
                                               Counsel for PLV Electric LLC
                                               McManimon, Scotland & Baumann, LLC
                                               75 Livingston Avenue
                                               Second Floor
                                               Roseland, NJ 07068
                                               973-622-1800 Fax:973-712-1463
                                               asodono@msbnj.com
